|N THE UN|TED STATES DISTR|CT COURT
FOR THE D|STR|CT OF DELAVVARE

W|LL|A|V| H. CLAUS, IV,

P|aintif'f,
v. § civil Action No. 18-1125-RGA
: Superior Court of the State of
GEORGE K. TRA|V|MELL, l||, and : Delaware in and for Sussex County
STEPHAN|E PARKER, : Case No. 8180-06-021 ESB
Defendants. l

 

Paul G. Enter|ine, Esquire, Georgetown, De|aware. Counse| for P|ainth°f.

George K. Tramme||l |||l Seaford, Delaware, and Stephanie Parker, Bridgevi||e,
De|aware. Pro se Defendants.

EMORANDUN| OP|N|ON

November UJ , 2018
Wi|mington, De|aware

   

/. istrict Judge:

Defendants George K. Trammel|, |||, and Stephanie Parker filed a notice of

ANDREWS, U

removal on Ju|y 31, 2018, of Claus v. Trammell, Deiaware State Court Case No. 8180-
06-021 ESB (De|. Super.). (D.|. 3). Defendants appear pro se. On August 20, 2018,
P|aintiff Wil|iam H. C|aus, |V, filed a motion to remand the matter to State Court. (D.|.
6). The matter has been fully briefed (D.|. 6, 9, 10). For the reasons discussed
below, the Court Wi|| grant P|aintiff's motion to remand to the Superior Court of the State
of De|aware in and for Sussex County.
FACTUAL AND PROCEDURAL BACKGROUND

On June 21, 2018, P|aintiff filed a complaint for ejectment in the Superior Court.
Tramme| Was served With the summons and complaint on Ju|y 3, 2018, and Parker
received and acknowledged service of the summons and complaint via certified mail on
Ju|y 17, 2018. (D.|. 7 atA1,A2, A4,A10-11,A24). Defendants removed the matter to
this Court on Ju|y 31, 2018 pursuant to 28 U.S.C. §§ 1343(a) (1)-(4), 1441(a), 1443(1),
and 1446. (D. |. 3). The notice of removal states that Defendants cannot get a fair,
impartia|, constitutional hearing in the Superior Court.

P|aintiff moves for remand on the grounds that: (1) the removal Was not time|y;
(2) the parties are not diverse; (3) there is no federal question; (4) a defense or
counterclaim is not part of the complaint; and (5) Defendants have not shown that the
State Court is incapable of properly adjudicating the case or any defense Defendants

seek to assert (D.|. 6).

LEGAL STANDARDS

The exercise of removal jurisdiction is governed by 28 U.S.C. § 1441 (a), which
states that, in order to remove a civil action from state court to federal court, a district
court must have original jurisdiction by either a federal question or diversity of
citizenship. 28 U.S.C. §§ 1331, 1332, 1441(a). Section 1441(a) and § 1443 both
provide that the action may be removed by the defendant to the district court of the
United States. Id. at §§ 1441(a), 1446. The removal statutes are strictly construed and
require remand to state court if any doubt exists over whether removal was proper.
Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100, 104 (1941).

A court will remand a removed case “if at any time before final judgment it
appears that the district court lacks subject matterjurisdiction." 28 U.S.C. § 1447(c).
The party seeking removal bears the burden to establish federal jurisdiction. Steel
Valley Auth. v. Union Switch & Signal Div. Am. Standard, Inc., 809 F.2d 1006, 1010 (3d
Cir. 1987); Zoren v. Genesis Energy, L.P., 195 F. Supp. 2d 598, 602 (D. De|. 2002). |n
determining Whether remand based on improper removal is appropriate, the court “must
focus on the plaintist complaint at the time the petition for removal Was ti|ed,” and
assume all factual allegations therein are true. Steel Valley Auth., 809 F.2d at 1010.

D|SCUSS|ON

ln their notice of remova|, Defendants claim there is federal question jurisdiction
under 28 U.S.C. § 1331 and civil rights and elective franchise jurisdiction under
§ 1343(a) (1), (2), (3), (4). ln their opposition to remand, Defendants claim fraud on the

court and advise the Court the instant case is a “spin oft" of Depan‘ment of Finance of

Sussex County v. Clifford E. Polk Heirs, Civ. No. 17-1448-RGA (D. De|.), a case
Trammel| improperly removed to this Court, which was summarily remanded to state
court on December 1, 2017. |n Civ. No. 17-1448-RGA, Trammel| sought a writ of
prohibition to prevent a sheriffs sale of real property located in Seaford, Delaware, the
same property which is the subject matter of the complaint for ejectment in this removed
case. (See Civ. No. 17-1448-RGA at D.|. 6 and D.|. 7 at A 15, both referring to C.A. No.
S17T-07-004). Tramme|l states that he was intentionally and deliberately
disenfranchised in the first case and now, in an attempt to cover up Tramme||’s
“incontrovertib|e equitable interest" in the real property at issue (D.|. 9 at 2), P|aintiff has
finally put his name in the caption. Defendants also invoke 42 U.S.C. § 1983 in their
opposition to remand and assert constitutional violations relating to felony theft of real
property.

A district court has federal question jurisdiction over “a|| civil actions arising under
the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. Defendants
assert this Court has original jurisdiction over the Comp|aint because they cannot get a
fair impartial (i.e., constitutiona|) hearing due to the “biased” “vehemently ‘racist”’
Sussex County Superior Court. (D.|. 3 at 1).

P|aintiff notes the action was commenced in the Superior Court as an action for
ejectment under state law. (D.|. 6 at 1). P|aintiff moves for remand based upon the
we|l~p|eaded complaint ru|e. ln commencing an action, P|aintiff decides whether to
assert a federal claim, a state claim, or both. See Caterpillarlnc. v. Williams, 482 U.S.

386, 392 (1987). When analyzing federal subject matterjurisdiction, courts have

traditionally looked to the “we|l-pleaded complaint" rule. Id. Under the well-pleaded
complaint rule, a cause of action “‘arises under' federal |aw, and removal is proper, only
if there is a federal question presented on the face of the plaintist properly pleaded
complaint.” Dukes v. U.S. Healthcare, 57 F.3d 350, 353 (3d Cir. 1995)); see also
Homes Grp., Inc. v. Vomado Air Circulation Sys., lnc., 535 U.S. 826, 832 (2002). “‘[A]
case may not be removed to federal court on the basis of a federal defense,’ even if the
plaintist complaint anticipates such defense." Caterpillar, 482 U.S. at 392. “Nor can
[the d]efendant[] create federal jurisdiction by asserting federal defenses and/or
counterclaims to [the p]|aintiff’s state law foreclosure complaint.” Green Tree Servicing
LLC v. Dillard, 88 F. Supp. 3d 399, 402 (D.N.J. 2015) (ordering remand because
mortgage foreclosure is a matter of state law, and defendants assertion of issues under
the FDCPA does not create federal jurisdiction).

|n the instant case, P|aintiff fried an ejectment action, based solely on state |aW.
Ejectment does not arise under federal |aW. Defendants’ position is that they cannot get
a fair hearing in the Superior Court. However, as stated under the well-pleaded
complaint rule, defenses and counterclaims do not create federal court jurisdiction.
Further, while Defendants assert a claim under 42 U.S.C. § 1983 in their opposition, the
claim is not cognizable even were | to consider it. P|aintiff is not a state actor as is
required to state a claim under § 1983. See West v. Atkins, 487 U.S. 42, 48 (1988)
(when bringing a § 1983 claim, a plaintiff must allege that some person has deprived

him of a federal right, and that the person who caused the deprivation acted under color

of state law). This Court does not have jurisdiction by reason of a federal question
under 28 U.S.C. § 1331.

Nor is there jurisdiction by reason of diversity. District courts have original
jurisdiction over “all civil actions where the matter in controversy exceeds the sum or
value of $75,000 . . . and is between . . . citizens of different States.” 28 U.S.C.

§ 1332(a)(1). The record reflects that all parties are citizens of the State of Delaware,
(See D.|. 7 at A15, A47, A42).

According|y, the Court concludes that it does not have subject matter jurisdiction

in this matter. Therefore, the motion to remand will be granted.
CONCLUS|ON

For the above reasons, the Court will grant P|aintist motion to remand (D.|. 6).
The matter will be remanded to the Superior Court of the State of Delaware in and for
Sussex County.

An appropriate Order will be entered.

